Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 1 of 9 PageID #: 358




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
KALIEF WILLIAMS,

                                    Plaintiff,

                        -against-                                                  ORDER
                                                                            21 CV 2922 (EK) (CLP)
THE RUSSO’S PAYROLL GROUP, INC., et
al.,

                                   Defendants.
----------------------------------------------------------X
POLLAK, United States Magistrate Judge:

         On May 24, 2021, Kalief Williams (“plaintiff”) commenced this action against The

Russo’s Payroll Group, Inc., Frank Russo, Jr., 1 Robbie Russo, and Giuseppe Joe Vacca

(collectively, the “defendants”), alleging claims of race discrimination in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., and Title 8 of the Administrative Code

of the City of New York, § 8-107(1)(a) of the New York City Human Rights Law. Currently

pending before this Court is plaintiff’s October 10, 2023, letter motion to compel defendants’

responses to plaintiff’s discovery requests and impose sanctions upon defendants for

“stonewalling discovery and for willful violation of the Federal Rules” (the “Motion” or “Mot.”).

(ECF No. 46 at 3).

         For the reasons set forth below, plaintiff’s Motion is GRANTED in part and DENIED in

part.

                                                 BACKGROUND

         Following the filing of the Complaint, defendants moved to dismiss on statute of

limitations grounds and on the alleged failure of the Complaint to state a claim, pursuant to Rule



         1
             Frank Russo, Jr. was dismissed as a defendant on April 21, 2023. (See ECF No. 43).

                                                          1
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 2 of 9 PageID #: 359




12(b)(6) of the Federal Rules of Civil Procedure. (ECF No. 23). The district court denied the

motion, except to dismiss Frank Russo, Jr. as a defendant (see ECF No. 43), and thereafter, on

June 29, 2023, the remaining defendants filed their Answer to the Complaint. (ECF No. 45).

This Court held an initial conference on June 6, 2023, at which time the parties were ordered to

exchange document requests and interrogatories by July 7, 2023, with responses due August 7,

2023. (See Minute Entry, dated June 7, 2023). Depositions were to proceed following the

exchange of written discovery. (Id.)

       According to plaintiff’s Motion, plaintiff served demands on July 7, 2023, and noticed a

non-party deposition for September. (Mot. at 1). Plaintiff alleges that defendants not only failed

to respond to plaintiff’s demands by August 8, 2023; they also failed to serve their own

discovery requests within the time frame set by this Court. (Id.)

       On September 12, 2023, plaintiff’s counsel sent an email to defendants seeking to

confirm the deposition of the non-party witness that was scheduled for September 15, 2023, and

reminding them that they were late in their responses to plaintiff’s discovery demands. (Id.; see

also ECF No. 46-1 at 2). Counsel sent a second email the next morning, September 13, 2023,

again attempting to confirm the scheduled deposition (ECF No. 46-1 at 2), only to receive an

email from defendants’ counsel stating that they had to reschedule because they were “a bit

jammed up with motions, OSCs and other issues that recently popped up.” (Id. at 1).

Defendants’ counsel asked plaintiff to provide alternative dates, which plaintiff did by email on

September 20, 2023. (Id.) Defendants did not respond to those proposed dates. (Id.; see also

Mot. at 1).

       On October 2, 2023, plaintiff’s counsel sent a deficiency letter to defendants. (Mot. at 1;

see also ECF No. 46-2). The following day, defendants served their discovery demands—three



                                                 2
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 3 of 9 PageID #: 360




months late—but did not provide responses to plaintiff’s demands. (Mot. at 1). On October 6,

2023, following a meet-and-confer between counsel, defendants provided responses to plaintiff’s

discovery demands. (Id. at 2). Plaintiff complains that these responses were “a continuation of

[defendants’] history of obfuscation and delay” and that they included “a laundry list of

boilerplate objections to every single one of the 51 requests for production and 16 out of 20

interrogatories” while refusing to produce answers to “garden variety discovery.” (Id.) Among

plaintiff’s specific complaints are defendants’ refusal to provide: (1) the personnel files of the

alleged harassers; (2) other complaints of discrimination; (3) the list of employees during the

alleged racial assault; (4) phone records from the night of the assault; and (5) comparator

disciplinary records. (Id.) Plaintiff also complains that defendants failed to provide contact

information for any of the witnesses and they refused to identify the custodian of electronically

stored information. (Id.) In addition, plaintiff notes that the documents were not submitted in

the order in which they are kept in the usual course of business, nor was there any labeling to

indicate which documents responded to which requests. (Id. at 3).

       Moreover, according to plaintiff, defendants asserted attorney-client privilege and

redacted certain documents but failed to provide a privilege log, and they provided the same

documents that had already been exchanged since the agency investigation in 2017. (Id. at 2–3).

Finally, plaintiff asserts that although defendants were aware of the identity of the witnesses as

of July 2023, they informed plaintiff for the first time that these witnesses were no longer

employed and would need to be subpoenaed for deposition. (Id. at 2).

       Plaintiff seeks an Order waiving defendants’ objections to plaintiff’s demands, waiving

the late demands propounded by defendants, setting deadlines for responses and production and

imposing sanctions. On October 18, 2023, defendants filed a brief letter in response, noting that



                                                  3
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 4 of 9 PageID #: 361




the parties “ha[d] not spoken nor met and conferred at all since Defendants served their

responses.” (ECF No. 47 at 1). On October 24, 2023, this Court ordered the parties to meet and

confer on the issues raised in plaintiff’s Motion, which they did on November 8, 2023. (See

Defs.’ Resp. 2 at 1). In a letter dated November 13, 2023, defendants noted that the parties “were

able to resolve some of the issues” and provided responses to the remaining issues raised in

plaintiff’s letter motion. (Defs.’ Resp. at 1–3). Plaintiff filed a letter in reply on November 15,

2023, in which plaintiff noted that “[d]efendants have not agreed to produce any additional

discovery and they have not done what they promised in the meet and confer on November 8,

2023.” (Pl.’s Reply 3 at 1).

                                                   DISCUSSION

  I.     Objections and Privilege

         In their November 13th letter, 4 defendants advise the Court that they agreed to supplement

their responses by November 13, 2023, in order to: (1) state with particularity the basis for all

objections; (2) identify whether any documents are being withheld on the basis of any objection;

and (3) identify by Bates numbers the documents being produced in response to specific

document requests. (Defs.’ Resp. at 1). Defendants also agreed to provide a privilege log by

November 14, 2023. (Id. at 2). Defendants also note, however, that while they prepared

supplemental responses, they needed additional time to determine if any documents were being

withheld on the basis of objection. (Id.) Plaintiff notes in the reply letter that as of November


         2
           Citations to “Defs.’ Resp.” refer to defendants’ letter in response to plaintiff’s Motion, dated November
13, 2023. (ECF No. 50).
         3
           Citations to “Pl.’s Reply” refer to plaintiff’s letter in reply to defendants, dated November 15, 2023.
(ECF No. 51).
         4
           Defendants acknowledge that this letter was not submitted on November 10, 2023, in compliance with
this Court’s Order of October 24, 2023, and was late by three days because counsel was ill and spent the weekend
preparing for another hearing. (Defs.’ Resp. at 1 n.1). As plaintiff’s counsel notes, defendants have disregarded
other deadlines, including this Court’s Order to provide initial disclosures and the deadline for filing their Answer,
which was served two months late. (Pl.’s Reply at 1 n.1).

                                                           4
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 5 of 9 PageID #: 362




15, 2023, defendants still have not provided an explanation for their objections, nor have they

provided a privilege log. (Pl.’s Reply at 2–3).

       Defendants are ORDERED to provide a detailed explanation, on a request-by-request

basis, of each objection raised by December 1, 2023. Failure to provide a valid explanation by

that date will result in the imposition of sanctions. Defendants are ORDERED to carefully

review and withdraw those objections that are not well-founded; the assertion of frivolous or

unjustified objections will also be considered sanctionable.

       Defendants are also ORDERED to provide a privilege log by December 1, 2023, or the

privilege will be considered waived.

 II.   Specific Document Categories

       As noted above, plaintiff complains that defendants have refused to provide: (1) the

personnel files of the alleged harassers; (2) other complaints of discrimination; (3) the list of

employees during the alleged racial assault; (4) phone records from the night of the assault; and

(5) comparator disciplinary records. (Mot. at 2). The Court addresses each category of

documents in turn.

       A.      Personnel Files

       Defendants continue to object to plaintiff’s request for personnel files as overbroad,

seeking health records and other personal information irrelevant to the case. (Defs.’ Resp. at 2).

They further argue that the plaintiff was unwilling to limit the scope of the request. (Id.)

Defendants’ objections are largely unfounded. By December 1, 2023, defendants are

ORDERED to provide the requested personnel files of the harassers and plaintiff’s brother, with

the exception of any medical or health-related records. To the extent plaintiff seeks such

information, plaintiff may file a supplemental request, explaining the justification for seeking

medical- and/or health-related records.

                                                  5
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 6 of 9 PageID #: 363




       B.      Other Complaints

       Defendants also have declined to provide any documents reflecting other complaints of

discrimination and/or retaliation, arguing again that the requests are overbroad and complaining

that plaintiff declined to narrow the scope of the requests. (Defs.’ Resp. at 2). Defendants argue

that only those records of allegations against the named supervisor should be produced. (Id.)

The Court finds, based on the allegations of discrimination in the Complaint, that plaintiff’s

concerns are broader than just the actions of Robert Russo. Therefore, defendants are

ORDERED to produce all records reflecting any complaints of discrimination and/or retaliation

raised against any of the defendants and their employees by December 1, 2023.

       C.      Employee List

       Defendants also object to producing completely unredacted copies of the employee lists

produced in Bates Nos. D53–D54 but agree to provide the last known address for every

employee listed in those documents. (Id.) Without the benefit of a privilege log to explain the

basis for the redactions, the Court ORDERS defendants to produce by December 1, 2023, the

last known addresses of every employee listed in Bates Nos. D53–D54 and explain in a letter the

basis for the other redactions. Failure to provide the letter and/or the addresses will result in an

Order to produce the documents in unredacted form and in sanctions.

       Relatedly, defendants object to plaintiff’s request for the identity of employees

responsible for maintaining any server, computer database, and electronically stored information.

Other that stating, without any authority, that plaintiff “is not entitled to know the custodian[s]”

of this information, defendants raise no other objections to this request. (Id. at 3). Defendants

are ORDERED to provide this information by December 1, 2023.




                                                  6
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 7 of 9 PageID #: 364




           D.     Phone Records

           Defendants assert that they are searching for a log of calls made on the evening and early

morning of September 4, 2016, and September 5, 2016, which they will provide “if available.”

(Id. at 2). Defendants have had the request for this information since July 7, 2023. It is unclear

to the Court why it should take over four (4) months to ascertain whether a call log exists. By

December 1, 2023, defendants are to produce the log or an affidavit from someone with

knowledge, stating under oath that no such call log exists and explaining the means undertaken

to search for such a log.

           E.     Comparator Disciplinary Records

           Defendants similarly state that they are searching for disciplinary records for instances of

workplace violence. (Id.) Again, as with the call log, defendants have had ample time to

conduct such a search. Defendants are ORDERED to provide all responsive records or an

affidavit from someone with knowledge stating that no such records exist and explaining how a

diligent search for these records was undertaken by December 1, 2023.

III.       Witness Identities

           Plaintiff asserts that although defendants were aware of the identity of the witnesses as of

July 2023, they informed plaintiff for the first time that these witnesses were no longer employed

and would need to be subpoenaed for deposition. (Mot. at 2). Defendants continue to refuse to

provide the last known addresses of witnesses which defendants identified in response to any

document request or interrogatory, asserting that they will not do so until plaintiff identifies the

specific responses. (Defs.’ Resp. at 2). Defendants do not provide any grounds for such a

refusal.

           Defendants are ORDERED to provide the last known addressed of any witnesses that

defendants referenced in defendants’ own responses to plaintiff’s discovery requests. Their

                                                    7
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 8 of 9 PageID #: 365




refusal to do so is baseless and sanctionable. Failure to provide those last known addresses by

December 1, 2023, will result in sanctions.

       F.      Additional Discovery Disputes

       The parties also agree that there are additional issues in dispute. (Id. at 3; Pl.’s Reply at

2). Among the issues identified by plaintiff are the request for the identity of the customers and

vendors present the night of the assault, punch-out cards for that night, payroll and attendance

records for Robert Russo, and information regarding the investigative process for complaints and

discipline relating to discrimination and harassment. (Pl.’s Reply at 2). Given the allegations in

the Complaint, the Court finds no need for further briefing on any of these issues, and

Defendants are ORDERED to produce these documents and information by December 1, 2023.

       Defendants further note that plaintiff has not responded to defendants’ late-served

discovery requests and offer to consent to an extension of time for plaintiff to respond. (Defs.’

Resp. at 3). Plaintiff, in response, has asked that the Court consider these requests waived given

that they were served three months beyond the deadline set by the Court. (Pl.’s Reply at 3).

While the Court agrees that the defendants’ requests were served well beyond the deadline set by

the Court, and defendants neither requested an extension nor explained their noncompliance with

the schedule set by this Court, the Court denies plaintiff’s motion to deem the defendants’ right

to request discovery waived. Plaintiff is given 30 days following the receipt of defendants’

supplemental responses to plaintiff’s requests to provide responses to defendants’ requests.

                                          CONCLUSION

       The parties are ORDERED to submit a status letter by December 4, 2023, confirming

whether defendants have complied with the deadlines set out above and proposing agreed-upon

dates for depositions of defendants’ employee(s) and any other witnesses, including non-party

witnesses, which will be So Ordered by the Court. All depositions are to be completed by

                                                  8
Case 1:21-cv-02922-EK-CLP Document 52 Filed 11/28/23 Page 9 of 9 PageID #: 366




January 15, 2024. There will be no cancellation of deposition dates once they have been So

Ordered by the Court, absent a written request to the Court at least 48 hours in advance. The

parties are further ORDERED to submit an executed version of the proposed confidentiality

agreement by December 1, 2023.

       SO ORDERED.

Dated: Brooklyn, New York
       November 28, 2023

                                                Cheryl L. Pollak
                                                United States Magistrate Judge
                                                Eastern District of New York




                                                9
